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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  NORFOLK DIVISION



   IN RE ZETIA (EZETIMIBE) ANTITRUST
   LITIGATION                                           MDLNo. 2:18-md-2836

   THIS DOCUMENT RELATES TO:


   ALL ACTIONS



                           DISCOVERY CONFIDENTIALITY ORDER

          WHEREAS during the course of the above-captioned consolidated multidistrict litigation

   (the "Actions" or this "Litigation"), the parties and non-parties may be subject to discovery

   requests and/or proceedings which seek the disclosure of information considered by Parties (as

   defined below) or any Non-Parties (as defined below) to be confidential, proprietary, and/or

   private; and

          WHEREAS the Parties wish to preserve the confidentiality of such information through

   the use of a Discovery Confidentiality Order pursuant to Federal Rule of Civil Procedure 26(c);

   and


          WHEREAS, the Court finds that good cause exists for entry of this Discovery

   Confidentiality Order in the Actions to prevent the unauthorized disclosure and use of any Party

   or Non-Party's trade secrets and other confidential information during and after the course of this

   Litigation,

          IT IS ORDERED as follows:


   I.     DEFINITIONS.


          A.      Challenging Partv: A party that challenges the designation of material,

                  information, or items under this Order.


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         B.   Confidential Material: Non-public material, information, or items containing

               information the Designating Party has maintained in confidence and in good faith

              believes contain personal, financial, trade secret, or other confidential research,

              development, or commercial information entitled to protection under Federal Rule

              of Civil Procedure 26(c) or other applicable law.

         C.   Counsel: Outside Counsel or Record and In-House Counsel (as well as their

              support staff).

         D.   Designating Party: A Party or Non-Party that designates material, information, or

              items that it produces in disclosures or in response to discovery as Confidential

              Material or Highly Confidential—Attorneys' Eyes Only Material.

         E.   Disclosure or Discovery Material: All material, items, or information, regardless

              of the medium or manner in which they are generated, stored, or maintained

               (including, among other things, testimony, transcripts, and tangible things), that

               are produced or generated in disclosures or responses to discovery in the

              Litigation.

         F.    Expert: A person with specialized knowledge or experience in a matter pertinent

               to the Litigation who has been retained by a Party or its Counsel to serve as an

               expert witness or consultant in the Litigation.

         G.    Highly Confidential—Attorneys' Eyes Only Material: Non-public, highly

               sensitive Confidential Material or tangible things that contain or otherwise

               reference non-public trade secrets or other current or prospective confidential

               research, development, commercial, or financial information, or other highly

               sensitive data or information, the disclosure of which to another Party or Non-
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              Party believes in good faith carries a substantial risk to cause a competitive

              disadvantage to a Producing Party or could create a substantial risk of serious

              harm that could not be avoided by less restrictive means. Such information may

              include, for example, documents that reflect strategies or analysis of regulatory

              filings, patent applications, challenges to patents, litigation related to patents,

              discussions or analysis related to resolving patent litigation, strategic planning

              information, transactional data, claims and reimbursement data, pricing and cost

              data and analyses, or other materials that contain particularly sensitive trade

              secrets. Before material is designated Highly Confidential—Attorneys' Eyes Only

              under this subsection, the Designating Party will make a good faith effort to

              evaluate whether that material meets the requirements for Highly Confidential—

              Attorneys' Eyes Only material as set forth herein. Highly Confidential—

              Attorneys' Eyes Only designations must be limited in scope.

         H.   In-House Counsel: Attorneys who are employees of a Party in this Litigation. In-

              House Counsel does not include Outside Counsel of Record or any other outside

              counsel.


         I.   Non-Partv: Any natural person, partnership, corporation, association, or other

              legal entity not named as a Party in this Action,

         J.   Outside Counsel of Record: Attorneys who are not employees of a Party in this

              Litigation but are retained to represent or advise a Party to the Action and have

              appeared in the Litigation on behalf of that Party or are affiliated with or

              contracted by a law firm which has appeared on behalf of that Party.
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            K.     Party: Any party to this Action—Plaintiffs' or Defendants^—including all of its

                   officers, directors, and employees.

            L.     Producing Non-Partv: A Non-Party that produces Disclosure or Discovery

                   Material in this Litigation.

            M.     Producing Party: A Party that produces Disclosure or Discovery Material in this

                   Litigation.

            N.     Protected Material: Any Disclosure or Discovery Material that is designated as

                   Confidential Material or Highly Confidential—Attorneys' Eyes Only Material.

            O.     Receiving Party: A Party that receives Disclosure or Discovery Material from a

                   Producing Party.

    IL      MATERIALS COVERED.


            A.     Scope: This Discovery Confidentiality Order governs the handling of Disclosure

                   or Discovery Material designated as "Confidential" or "Highly Confidential—



         ' "Plaintiffs" refers to FWK Holdings, LLC (2:18-cv-00023), Cesar Castillo, Inc. (2:18-cv-
    00039), and Rochester Drug Cooperative, Inc. (2:18-cv-00071) (the "Direct Purchaser
    Plaintiffs"); Walgreen Co., Kroger Co., Albertsons Companies, Inc., and HEB Grocery Company
    L.P. (all identified in 2:18-cv-266), Rite Aid Corp. and Rite Aid Hdqtrs. Corp. (2:18-cv-423),
    and CVS Pharmacy, Inc. (2:18-cv-439) (the "Retailer Plaintiffs"); Sergeants Benevolent
    Association Health & Welfare Fund (2:18-cv-00108), Painters District Council No. 30 Health
    and Welfare Fund (2:18-cv-00116), International Union of Operating Engineers Local 49 Health
    and Welfare Fund (2:18-cv-00130); UFCW Local 1500 Welfare Fund (2:18-cv-01000),
    Philadelphia Federation of Teachers Health and Welfare Fund (2:18-cv-01001), City of
    Providence, Rhode Island (2:18-cv-01002), Self-Insured Schools of California (2:18-cv-00487),
    and the Uniformed Firefighters' Association of Greater New York Security Benefit Fund and the
    Retired Firefighters' Security Benefit Fund of the Uniformed Firefighters' Association (2:18-cv-
    403) (the "End-Payer Plaintiffs"); and any other plaintiffs whose complaints are later
    consolidated in the Actions.

        - "Defendants" refers to all current defendants in the Actions, including Merck & Company,
    Inc., Merck Sharp & Dohme Corporation, Schering-Plough Corporation, Schering Corporation,
    and MSP Singapore Company LLC, Glenmark Pharmaceuticals Limited and Glenmark Generics
    Inc., U.S.A., and any other defendant later joined.
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              Attorneys' Eyes Only" (as these terms are defined above)—and appHes to all

              materials produced, given, or exchanged by any Producing Party or Producing

              non-Party in the Actions (including, without limitation, disclosures, document

              productions, responses to interrogatories and requests for admissions, and/or

              responses to subpoenas, pleadings, exhibits, depositions, or other testimony),

              regardless of the medium or manner in which the materials are generated, stored,

              or maintained. This includes any material produced, filed, or served by any

              Producing Party or Producing Non-Party during discovery in these Actions or any

              information included in any materials. Any Producing Party or Producing Non-

              Party may, based on a good-faith belief that such materials are entitled to

              protection under Federal Rule of Civil Procedure 26(c) or other applicable law,

              designate all or any part of a document, discovery response, deposition, or other

              material that they produce, serve, or provide in connection with the Actions as

              "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL^ATTORNEYS' EYES


              ONLY" as described below. The designation of any material as

              "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL—ATTORNEYS' EYES


              ONLY" will constitute a representation by a Producing Party or Producing Non-

              Party that it has made a good-faith determination that any material so designated

              is confidential or protected under Federal Rule 26 and this Discovery

              Confidentiality Order. In no event shall a Producing Party or Producing Non-

              Party automatically designate every document produced as "CONFIDENTIAL"

              or "HIGHLY CONFIDENTIAL—ATTORNEYS' EYES ONLY."
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         B.   Notwithstanding the foregoing, information that is in the public domain or which

              is already known by the Receiving Party through proper means or which is or

              becomes available to a Party from a source other than a Designating Party or a

              third party asserting confidentiality, rightfully in possession of such material on a

              non-confidential basis, will be presumed to be non-confidential material under

              this Discovery Confidentiality Order.

         C.   Except as otherwise provided in this Order or as otherwise stipulated or ordered.

              Disclosure or Discovery Material that qualifies for protection under this Order

              must be clearly so designated before the material is disclosed or produced.

         D.   Any Confidential Material or Highly Confidential—Attorneys' Eyes Only

              Material or materials derived from Confidential Material or Highly

              Confidential—Attorneys' Eyes Only Material, whether or not filed with the

              Court, must be designated as "CONFIDENTIAL" or "HIGHLY

              CONFIDENTIAL—ATTORNEYS' EYES ONLY," respectively, as provided in

              this Paragraph D. For documents in hard-copy form or modifiable electronic

              format, such documents must be designated as "CONFIDENTIAL" or "HIGHLY

              CONFIDENTIAL—ATTORNEYS' EYES ONLY" by stamping each page of the

              document in such a way as not to obscure any part of the text or content. A

              Producing Party or Producing Non-Party may designate natively produced

              electronic documents and other non-imaged media as "CONFIDENTIAL" or

               "HIGHLY CONFIDENTIAL—ATTORNEYS' EYES ONLY," as appropriate, by

               noting such designation in an accompanying cover letter (i.e., placeholder) and, to

               the extent possible, by affixing a legend or stamp to the media itself (i.e., disc,
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              hard-drive, etc.) on which the Confidential or Highly Confidential—Attorneys'

              Eyes Only Material is provided, and including the appropriate confidentiality

              designation in the load file provided with the electronic production. Whenever

              any Party to whom electronically stored documents are produced reduces such

              documents to hardcopy form, that Party shall designate the hard-copy documents

              with a legend, stamp, or watermark as provided in this Paragraph. A Party or

              Non-Party that makes original documents or materials available for inspection

              need not designate them for protection until after the inspecting Party has

              indicated which material it would like copied and produced. During the

              inspection and before the designation, all of the material made available for

              inspection shall be deemed Highly Confidential—Attorneys' Eyes Only Material.

              After the inspecting Party has identified the documents it wants copied and

              produced, the Producing Party must determine which documents, or pages

              thereof, qualify for protection under this Order. Then, before producing the

              specified documents, the Producing Party must affix the appropriate legend

              ("CONFIDENTIAL" or "HIGHLY CONFIDENTIAL—ATTORNEYS' EYES

              ONLY") to each document or page of a document that contains Protected

              Material.


         E.   Testimony provided in this Litigation in deposition or other pretrial proceedings

              may be designated as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL-

              ATTORNEYS' EYES ONLY" by any Party or Non-Party if the testimony

              concerns or relates to that Party's or Non-Party's Confidential or Highly

              Confidential—Attorneys' Eyes Only Material. Counsel for a Party or any Non-
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              Party may state on the record during a deposition or pretrial proceeding that the

              testimony and/or proceedings shall be treated as "CONFIDENTIAL" or

              "HIGHLY CONFIDENTIAL—ATTORNEYS' EYES ONLY." If such a

              designation on the record is made, the Parties shall treat the entirety of such

              deposition testimony or testimony during other pretrial proceedings as so

              designated on the record for a period of 30 days from the date of receipt by

              Outside Counsel of Record of a final transcript, during which time a Designating

              Party may identify the specific portions of testimony as to which protection is

              sought and specify the particular level of protection being asserted. At the

              expiration of that 30-day period, only those portions that are specifically

              identified will qualify for protection under this Order. Alternatively, during that

              30-day period, a Designating Party may, if appropriate, designate the entire

              transcript as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL-

              ATTORNEYS' EYES ONLY." Any rough transcript that is generated before

              receipt by Outside Counsel of Record of a final transcript also shall be treated

              during the 30-day period as if it had been designated "HIGHLY

              CONFIDENTIAL—ATTORNEYS' EYES ONLY" in its entirety unless

              otherwise agreed. After the expiration of that period, the rough and final

              transcript shall be treated only as actually designated. Each Party shall provide

              notice to all other Parties if it reasonably expects to reference or use Protected

              Material at a deposition, hearing or other proceeding so that the other Parties can

              attempt to ensure that only authorized individuals who have signed the

              Declaration in the form annexed hereto as Exhibit A are present at those



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              proceedings. The use of a document as an exhibit at a deposition shall not in any

              way affect its designation as "CONFIDENTIAL" or "HIGHLY

              CONFIDENTIAL—ATTORNEYS' EYES ONLY."


         F.   Materials produced in some form other than documentary form and any tangible

              items may be designated as "CONFIDENTIAL" or "HIGHLY

              CONFIDENTIAL—ATTORNEYS' EYES ONLY" by affixing in a prominent

              place on the exterior of the container or containers in which the information or

              item is stored the legend "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL-

              ATTORNEYS' EYES ONLY." If only a portion or portions of the information or

              item warrant protection, the Producing Party, to the extent practicable, shall

              identify the protected portion(s) and specify the level of protecting being asserted.

         G.   Any document produced (or material containing information from a document

              produced), any deposition transcripts or exhibits, any Expert reports, any filings,

              and any other materials from underlying patent litigations involving any of the

              Parties in these Actions, that were designated therein as confidential or highly

              confidential will be treated as Confidential Material or Highly Confidential—

              Attorneys' Eyes Only Material under this Discovery Confidentiality Order, unless

              the original party that designated the material as confidential agrees otherwise, the

              document or information has since become public, or the Court orders otherwise.

         H.   Any Confidential Material or Highly Confidential—Attorneys' Eyes Only

              Material that was exchanged by the Parties beforeexecution of this Discovery

              Confidentiality Order are also covered by the provisions of this Discovery

              Confidentiality Order.
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          1.   If materials produced or received in other earlier litigations that were designated

               under a protective order in such earlier litigations are reproduced in this Action,

               such material shall be treated as "HIGHLY CONFIDENTIAL - ATTORNEYS'


               EYES ONLY" in this Action absent agreement of the Parties or further order of

               the Court.


          J.   Notwithstanding any contrary provision of this Discovery Confidentiality Order,

               each Designating Party retains the right to re-designate documents and things, and

               deposition testimony and other oral disclosures, subject to Paragraph VIII. Upon

               such re-designation, each Party and Non-Party shall in good faith endeavor to

               treat such written materials and oral disclosures in accordance with such


               designation from that time forward.

    in.   USE OF MATERIALS AND DECLARATION.

          A.   The Parties shall use all Protected Material and information derived from

               Protected Material solely, as applicable, in furtherance of the prosecution,

               defense, or attempted settlement of these or related Actions. All materials

               designated "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL-

               ATTORNEYS' EYES ONLY" must be stored and maintained by the Receiving

               Party in a manner no less secure than a Receiving Party would store and maintain

               its own confidential material or that of its clients. Upon conclusion of these

               Actions, a Receiving Party must comply with the provisions of Paragraph VII

               below regarding return or destruction of Protected Material.

          B.   Each Receiving Party, except the persons identified in Paragraph IV(A)-(B), (D),

               (G), and (I) and Paragraph V(A)-(B), (D), and (F) below, shall execute a


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               Declaration in the form annexed hereto as Exhibit A and shall agree to be bound

               by this Discovery Confidentiality Order before receiving any Protected Material.

               Counsel for each Party shall maintain the executed Declarations and need not

               provide copies to any other Party, unless there is a genuine dispute between the

               Parties concerning a person's handling of Protected Material, or except as

               expressly provided for herein.

         C.    Notwithstanding any contrary provision in this Discovery Confidentiality Order, a

               Party is permitted to disclose Protected Material to the extent required by a valid

               subpoena or other valid legal process, provided that the procedures in this

               Paragraph C are followed. The Party that has received a valid subpoena or other

               valid legal process (the "Subpoenaed Party") in this Litigation must provide the

               Designating Party with written notice of such subpoena or other legal process and

               include in such notification a copy of the subpoena or court order, via electronic

               mail or hand delivery, immediately upon receipt but in no event later than within

               five (5) business days of receiving the subpoena or a lesser period if ordered by

               the Court ("the Response Period"), in order to afford the Designating Party an

               opportunity to object. The Subpoenaed Party shall also inform the persons seeking

               discovery in writing (with copy to the Designating Party) that providing the

               information may be a violation of this Discovery Confidentiality Order. If the

               Designating Party does not move for a protective order in this Court within the

               time allowed for production by the subpoena or request and give written notice of

               such motion to the Subpoenaed Party, the Subpoenaed Party may commence

               production of documents or proceed with a deposition in response to the request


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                 or subpoena. The Subpoenaed Party will not produce any Protected Material

                 while a motion for a protective order brought by the Designated Partypursuant to

                 this paragraph is pending or while an appeal from or request for appellate review

                 of such motion is pending, unless a courtof competent jurisdiction orders

                 otherwise. In such case, production of Protected Material pursuant to a court order

                 will not be deemed a violation of this Discovery Confidentiality Order. The

                 Designating Party shall bear the burden and expense of seekingprotection of its

                 Protected Material. The Subpoenaed Party must cooperate with respect to all

                 reasonable procedures sought to be pursued by the Designating Party whose

                 Protected Material may be affected.

    IV.   DISCLOSURE OF CONFIDENTIAL MATERIAL. Unless otherwise ordered by this

          Court or permitted in writing by a Designating Party, disclosure of Confidential Material

          may be made only to:

          A.     the Court, its secretaries, clerks, law clerks, and other staff;

          B.     Outside Counsel of Record in the Litigation and their employed or retained

                 support staff, secretaries, paralegals, legal assistants, and support services

                 (including, without limitation, copy services, litigation consultants or vendors,

                 including, but not limited to, document management services, graphics services,

                 outside exhibit preparation companies, independent support services personnel,

                 and database/coding service personnel);

          C.     In-House Counsel for each Party, as well as the secretarial and clerical employees

                 of each Party who work regularly with In-House Counsel for the sole purpose of

                 assisting with the Actions;



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         D.    court reporters/stenographers, court videographers, and similar transcription

               services and their support staff (this category hereinafter referred to as "Court

               Reporters");

         E.    any Expert (as defined in this Order) of a Party, including all Non-Party personnel

               and support staff assisting such Expert, to whom disclosure is reasonably

               necessary for purposes of the Litigation and who has signed the Declaration in the

               form annexed hereto as Exhibit A;

         F.    any mediators engaged by the Parties, and their support staff;

         G.    any person that counsel for a Party has a good-faith basis to believe prepared,

               received, reviewed, or had knowledge about the subject matter of the Confidential

               Material or whose conduct is covered by this Discovery Confidentiality Order;

         H.    current or former officers, directors, and employees of a Party where the current

               and former officers, directors, and employees are reasonably believed to have had

               access to the Protected Material in the course of his or her employment, or a

               person designated as a Rule 30(b)(6) witness by the Designating Party, and to the

               extent that designee is not otherwise covered by this Discovery Confidentiality

               Order has signed Exhibit A;

         I.    the author or recipient of a document containing the information; and

         J.    any deponent or witness, during the course of sworn testimony in this Litigation,

               whom counsel (i) believes in good faith has previously seen the document or (ii)

               has objective reason to believe possesses knowledge of the subject matter of the

               confidential information, subject to the Disclosing Party's consent, which shall

               not be unreasonably withheld. If a dispute arises during a deposition or trial


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                examination concerning whether a witness may be shown particular document(s),

                 and the Parties themselves cannot reach an agreement, the Parties shall attempt to

                 contact the Court for immediate resolution. If, despite such efforts, no agreement

                 can be reached, the parties may seek a later Court determination, and the

                 examining party reserves all rights, including the right to ask the Court to re-open

                 the deposition at the expense of the Party who prevents the initial questioning

                 from taking place. Persons authorized to view Confidential Material under this

                 sub-paragraph are not permitted to retain copies of such materials.

    V.   DISCLOSURE OF HIGHLY CONFIDENTIAL—ATTORNEYS' EYES ONLY


         MATERIAL. Unless otherwise ordered by this Court or permitted in writing by a

          Designating Party, disclosure of Highly Confidential—Attorneys' Eyes Only Material

          may be made only to:

          A.     the Court, its secretaries, clerks, law clerks, and other staff;

          B.     Court Reporters;

          C.     any mediators engaged by the Parties, and their support staff;

          D.     Outside Counsel of Record in the Litigation and their employed or retained

                 support staff, secretaries, paralegals, legal assistants, and support services

                 (including, without limitation, copy services, interpreters, translators, litigation

                 consultants or vendors, including, but not limited to, document management

                 services, graphics services, outside exhibit preparation companies, independent

                 support services personnel, and database/coding service personnel);




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         E.    In-House Counsel for each Party to whom disclosure is reasonably necessary for

               purposes of the Action and who have signed the Declaration in the form annexed

               hereto as Exhibit A;

         F.    any Expert (as defined in this Order) of a Party, including all Non-Party personnel

               and support staff assisting such Expert, to whom counsel in good faith believes

               disclosure is reasonably necessary for purposes of the Litigation and who has

               signed the Declaration in the form annexed hereto as Exhibit A;

         G.    the person who prepared, authored, received, or reviewed the Highly

               Confidential—Attorneys' Eyes Only Material, or if there are other indicia that the

               person has seen the document previously;

         H.    any person to whom the Producing Party or Non-Party agrees (in writing) Highly

               Confidential - Attorneys' Eyes Only information may be disclosed. The Parties

               agree to confer in good faith to accommodate reasonable requests;

          I.   during the course of sworn testimony, current or former officers, directors, and

               employees of a Party where the current or former officers, directors, and

               employees are reasonably believed to have had access to the Protected Material in

               the course of their employment, or a person designated as a Rule 30(b)(6) witness

               by the Designating Party, and to the extent that designee is not otherwise covered

               by this Discovery Confidentiality Order has signed Exhibit A. Persons authorized

               to view Highly Confidential—Attomeys' Eyes Only Material under this sub-

               paragraph are not permitted to retain copies of such materials; and

          J.   any deponent or witness, during the course of sworn testimony in this Litigation,

               whom counsel (i) believes in good faith has previously seen the document or (ii)


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                 has objective reason to believe possesses knowledge of the subject matter of the

                 Highly Confidential—Attorneys' Eyes Only information, subject to the

                 Disclosing Party's consent, which shall not be unreasonably withheld. If a

                 dispute arises during a deposition or trial examination concerning whether a

                 witness may be shown particular document(s), and the Parties themselves cannot

                 reach an agreement, the Parties shall attempt to contact the Court for immediate

                 resolution. If, despite such efforts, no agreement can be reached, the parties may

                 seek a later Court determination, and the examining party reserves all rights,

                 including the right to ask the Court to re-open the deposition at the expense of the

                 Party who prevents the initial questioning from taking place. Persons authorized

                 to view Highly Confidential—Attorneys' Eyes Only Material under this sub-

                 paragraph are not permitted to retain copies of such materials.

    VI.   CHALLENGES TO DESIGNATIONS. A Receiving Party is under no obligation to

          challenge the propriety of a Confidential or Highly Confidential—Attorneys' Eyes Only

          designation at the time the designation is made, and may challenge such designation at

          any point up until trial. However, once a party determines a challenge is warranted, it

          should make a prompt challenge, and no party should unreasonably delay raising such

          challenges. In the event that a Party disagrees with a Confidential or Highly

          Confidential—Attorneys' Eyes Only designation made by another Party or a Non-Party,

          the following procedure shall be used:

          A.     The Party disputing a designation of material as "CONFIDENTIAL" or

                 "HIGHLY CONFIDENTIAI^ATTORNEY EYES' ONLY" shall, in writing,

                 notify the Producing Party or Producing Non-Party that it is disputing the


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               designation (the "Challenge Notice"). To avoid ambiguity as to whether a

               challenge has been made, the Challenge Notice must recite that the challenge to

               confidentiality is being made in accordance with this Order. The Challenge Notice

               shall also: (i) identify the specific materials in dispute by exact Bates number(s)

               (or by other identification if Bates number(s) are not on said materials); and (ii)

               specify the reasons the Party believes the materials are not entitled to Protected

               Material treatment under this Discovery Confidentiality Order or the Federal

               Rules of Civil Procedure. The Producing Party or Producing Non-Party shall

               respond in writing within fourteen (14) days of receiving the Challenge Notice

               and state with particularity the grounds for asserting that the document or

               information is entitled to "CONFIDENTIAL" or "HIGHLY CONnDENTIAL—

               ATTORNEYS' EYES ONLY" treatment under this Discovery Confidentiality

               Order or the Federal Rules of Civil Procedure. If the Producing Party or

               Producing Non-Party makes a timely response, counsel shall then confer in good

               faith in an effort to resolve the dispute. If the Producing Party or Producing Non-

               Party does not respond in writing within fourteen (14) days after confirmation of

               the dispute, the materials will be presumptively determined to be non-confidential

               and not subject to confidential treatment under this Discovery Confidentiality

               Order or the Federal Rules of Civil Procedure. If a large number of designations

               are challenged at once, the Producing Party or Producing Non-Party may request

               additional time to respond.

         B.    If counsel for the Parties are unable to resolve the dispute, the Challenging Party

               may file a motion within fifteen (15) days of the parties reaching in impasse to


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                 challenge the confidentiality designation of any Protected Material. The

                 Producing Party or Producing Non-Party's failure to timely oppose such motion

                 challenging the designation of documents shall result in a waiver of the

                 challenged designation. The Producing Party or Producing Non-Party Party will

                 have the burden of proof to establish the propriety of its designations of material

                 as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL—ATTORNEYS' EYES

                 ONLY." The Challenging Party shall not make frivolous challenges or those

                 otherwise made for an improper purposes (e.g., to harass or impose unnecessary

                 expenses and burdens on other parties). Any challenge found to be frivolous or

                 otherwise made for an improper purpose may expose the Challenging Party to

                 sanctions. The document or thing that is the subject of the filing will be treated as

                 originally designated pending resolution of the dispute.

    VIL   HANDLING OF PROTECTED MATERIALS. Persons who have been shown

          Protected Material pursuant to this Discovery Confidentiality Order and have not

          otherwise obtained or maintained the material in the normal course of business shall not

          retain copies of such Protected Material or documents that reflect Protected Material.

          Within sixty days after such time as these Actions are concluded, by either the later of (1)

          dismissal of all claims and defenses in the Litigation, with or without prejudice; or (2)

          final judgment herein after the completion and exhaustion of all appeals, rehearings,

          remands, trials, or reviews of the Litigation, including the time limits for filing any

          motions or applications for extension of time pursuant to applicable law, counsel will, at

          their option, return or undertake commercially reasonable efforts to destroy all Protected

          Material (including but not limited to copies in the possession or control of any Expert or


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         employee). Whether the Protected Material is returned or destroyed, the Receiving Party

         must submit a written certification to the Producing Party (and, if not the same person or

         entity, to the Designating Party) by the 60-day deadline that (1) states that all the

         ProtectedMaterial that was returned or destroyed and (2) affirms that the Receiving Party

         has not retained any copies, abstracts, compilations, summaries or any other format

         reproducing or capturing any of the Protected Material. Notwithstanding this provision,

         as to those materials that contain, reflect, incorporate, attach, or reference attorney work

         product, counsel of record for the Parties shall be entitled, without violating this

         Discovery Confidentiality Order, to retain such work product in their files, so long as the

         terms of this Discovery Confidentiality Order will continue to govern any such retained

         materials. In addition, counsel shall be entitled, without violating this Discovery

         Confidentiality Order, to retain pleadings, affidavits, motions, briefs, expert reports (and

         exhibits thereto), correspondence (including internal correspondence and email (and

         attachments)), any other papers filed with the Court (including exhibits), deposition

          transcripts, and the trial record (including exhibits) even if such materials contain

         Protected Material, so long as this Discovery Confidentiality Order will continue to

          govern any such retained materials. If a Party settles and/or otherwise is dismissed from

          the Actions before the conclusion of the Actions (the "Dismissed Party"), then the

          Dismissed Party must follow the requirements set forth in this Paragraph. The Dismissed

          Party must either return or destroy all Protected Material received in the Actions, as set

          forth above, within 60 days of settling and/or being dismissed from the Actions. Any

          other Party remaining in the Actions is not required to return any Protected Material

         received from the Dismissed Party until the Actions are concluded, as set forth above.


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            For the avoidance of doubt, nothing in this Paragraph obligates any Party to destroy its

            own Protected Material at the close of these Actions or at any other time.

    VIII.   INADVERTENT FAILURE TO DESIGNATE. In the event that Protected Material is


            inadvertently produced without having been previously marked "CONFIDENTIAL" or

            "HIGHLY CONFIDENTIAL—ATTORNEYS' EYES ONLY," the Receiving Party

            shall, upon a written request from the Designating Party, treat and preserve such

            document, paper, or thing in accordance with the confidentiality designation that the

            Designating Party states should have been affixed to it. The Designating Party must then,

            within ten days of its written request, or such other time as agreed by the Parties, re

            produce the document, paper, or thing with the appropriate confidentiality designation.

            The Receiving Party shall then replace the incorrectly designated materials with the

            newly designated materials and shall, within ten days of receipt of the replacement set,

            return the non-designated material, or confirm in writing that all copies of it have been

            destroyed. The inadvertent failure of a Producing Party or Producing Non-Party to

            designate a document as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL^

            ATTORNEYS' EYES ONLY" at the time of producdon will not operate as a waiver of

            the rights and protections afforded by this Discovery Confidentiality Order, either as to

            specific information in the document or as to any other information relating thereto or on

            the same or related subject matter. No Party will be deemed to have violated this

            Discovery Confidentiality Order if, before notification of any later designation, such

            material has been disclosed or used in a manner inconsistent with the later designation.

            Once a designation is made, however, the relevant documents or materials must be

            treated as Confidential or Highly Confidential—Attorneys' Eyes Only in accordance with



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          this Discovery Confidentiality Order. If material inadvertendy not designated is, at the

          time of the later designation, already filed with a court on the public record, the

          Producing Party or Producing Non-Party that failed to make the designation will, at its

          discretion, move for appropriate relief

    IX.   INADVERTENT DISCLOSURE OF PROTECTED MATERIAL BY RECEIVING
          PARTY.


          If a Receiving Party learns that it has inadvertently disclosed Protected Material to any

          person or disclosed Protected Material in any circumstance not authorized by this

          Discovery Confidentiality Order, the Receiving Party shall, as soon as is practicable but

          no later than within five business days: (i) notify in writing the Designating Party of the

          unauthorized disclosure; (ii) use its best efforts to retrieve all copies of the Protected

          Material; and (iii) inform the person or persons to whom unauthorized disclosure was

          made, to the extent the person or persons are identifiable, of all the terms of this

          Discovery Confidentiality Order and have the person or persons execute a Declaration in

          the form annexed hereto as Exhibit A. If Protected Material is used inadvertently during

          depositions in contravention of other provisions of this Discovery Confidentiality Order,

          the Protected Material will not lose its confidential or highly confidential status through

          such use, and counsel shall exercise their best efforts and take all steps reasonably

          required to protect its confidentiality during such use. If such Protected Material is

          inadvertently disclosed to a deposition witness, and the witness has testified concerning

          that information, the witness may be examined and cross-examined with respect to the

          document(s) or information disclosed for the remainder of the deposition.

    X.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE


          PROTECTED MATERIAL.


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           Nothing in this Order shall be construed as inconsistent with Section IX of the Parties'

           Joint Stipulated Protocol for Governing Privilege and the Discovery of Electronically

           Stored Information and Hard Copy Documents.

    XI.    REQUEST TO A PARTY SEEKING NON-PARTY CONFIDENTIAL

           INFORMATION. In the event that a Party is required, by a valid discovery request, to

           produce a Non-Party's confidential information in its possession, custody, control, and

           the Party is subject to an agreement with the Non-Party not to produce the Non-Party's

           confidential information, then the Party shall: (a) promptly notify in writing the

           Requesting Party and the Non-Party that some or all of the information requested is

           subject to a confidentiality agreement with a Non-Party; (b) promptly provide the Non-

           Party with a copy of this Order, the relevant discovery request(s), and a reasonably

           specific description of the information requested; and (c) make the information requested

           available for inspection by the Non-Party. If the Non-Party fails to object or seek a

           protective order from this Court within 14days of receiving the notice and accompanying

           information, the Party that received the discovery request may produce the Non-Party's

           responsive confidential information. If the Non-Party timely seeks a protective order, the

           Party that received the discovery request shall not produce any information in its

           possession or control that is subject to the confidentiality agreement with the Non-Party

           before a determination by the Court. Absent a court order to the contrary, the Non-Party

           shall bear the burden and expense of seeking protection in this Court of its Protected

           Material.


    XII.   INFORMATION FROM NON-PARTY SOURCES. To the extent that any discovery

           requests pursuant to the Federal Rules of Civil Procedure are served on a Non-Party, the


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         Party serving the discovery request(s) shall, at the time of service, provide the Non-Party

         with a copyof this Discovery Confidentiality Order. A Non-Party may designate

         Protected Material as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL-

         ATTORNEYS' EYES ONLY" pursuant to the provisions of this Discovery

         Confidentiality Order. Documents produced in this Litigation by Non-Parties that consist

         of or contain portions of documents originally created or generated by a Party will be

         treated as Highly Confidential—Attorneys' Eyes Only until the expiration of a fifteen-

         day period after the receipt by the Parties in these Actions. During that fifteen-day

         period, if any Party believes a Non-Party has produced information from that Party that

         the Party believes should be designated as "CONFIDENTIAL" or "HIGHLY

         CONFIDENTIAL—ATTORNEYS' EYES ONLY," that Party may notify the Non-Party

         and the other Parties that the Non-Party may have inadvertently failed to designate the

         information as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL—ATTORNEYS'


         EYES ONLY."       The Non-Party may then correct the designation as provided in

         Paragraph Vm. Nothing in this Paragraph prevents a Party from treating documents

         produced by Non-Parties that are publicly available as Non-Confidential Material during

         the 15-day period.

         Furthermore, the Parties agree to meet and confer about the use of specific documents

         produced by Non-Parties if during the 15-day review/notification period (discussed

         above), one of the Parties would like to use such documents for a deposition, briefing, or

         other time-sensitive use.


    XIII. FILING PROTECTED MATERIAL WITH THE COURT. The Parties recognize

         that a Party wishing to file Protected Material or information derived from Protected


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           Material with the Court must comply with the procedure set forth in Local Civil Rule 5 of

           the Local Rules of the United States District Court for the Eastern District of Virginia and

           that motions to file documents under seal are disfavored and discouraged in this district.

           When a Party moves to file material under seal because another Party has designated the

           material as confidential, it will be sufficient that the moving Party state that the material

           has been designated as "CONFIDENTL\L" or "HIGHLY CONFIDENTIAL-

           ATTORNEYS' EYES ONLY" by the Producing Party or Producing Non-Party; and the

           Party designating the material as confidential must file a response to the motion

           complying with requirements set forth at Local Civil Rule 5(C), (2), (3), and (4) along

           with a proposed order. If Protected Material is filed electronically, the document should

           bear a banner on the first page "CONTAINS CONFIDENTIAL MATERIAL

           PURSUANT TO DISCOVERY CONFIDENTIALITY ORDER—FILED UNDER


           SEAL." If filed in hard copy, the sealed material shall plainly state on the first page of

           any bound or stapled document "CONTAINS CONFIDENTIAL MATERIAL

           PURSUANT TO DISCOVERY CONFIDENTIALITY ORDER—FILED UNDER

           SEAL" and shall be filed in sealed envelopes which shall be endorsed with the

           appropriate caption and a statement in the following form: "CONFIDENTIAL - THIS

           ENVELOPE CONTAINS DOCUMENTS THAT ARE SUBJECT TO A DISCOVERY


           CONFIDENTIALITY ORDER ENTERED BY THE COURT IN THIS ACTION. THIS


           ENVELOPE SHALL NEITHER BE OPENED NOR THE CONTENTS REVEALED

           EXCEPT BY ORDER OF THE COURT."


    XIV.   NON-DISCLOSURE OF CERTAIN INFORMATION REGARDING EXPERT
           WITNESSES.




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         A.    No subpoenas (for depositions or documents) need be served on any Rule

               26(a)(2)(B) or Rule 26(a)(2)(C) expert in this case. Instead, the Party or Parties

               retaining such an expert will make him or her available for deposition at a time

               mutually agreed to by the Parties. In addition, the Party or Parties retaining an

               expert from whom a report is provided will make all requisite disclosures at the

               time of service.


         B.    The below-listed categories of documents, recording media, and communications

               need not be disclosed by any Party and an Expert may not be examined at

               deposition, hearing, or trial on the contents of the below-listed categories of

               documents, recording media, and communications: (i) any notes or other writings

               taken or prepared by or for an Expert witness in connection with this matter (aside

               from the final written expert report(s) and notes generated while testifying),

               including (a) written correspondence or memoranda to or from, and notes of

               conversations between and among the expert witness and (1) the Expert's

               assistants and/or support staff, (2) other Expert witnesses or non-testifying expert

               consultants, including their staffs, or (3) attorneys for the Party or Parties,

               including their staffs, and/or (b) copies of materials produced by any Party in

               these Actions bearing the notes, markings, or comments of the Expert, the

               Expert's assistants and/or support staff, other Expert witnesses or non-testifying

               Expert consultants (including their staffs), or attorneys for the Party or Parties

               (including their staffs); (ii) any draft reports, draft studies, draft work papers, draft

               declarations, or other draft materials prepared by, for, or at the direction of an

               Expert witness, regardless of the form in which the draft is recorded; and (iii) any



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                 oral or written communication between and among an Expert witness and the

                 Expert's respective assistants and/or support staff, other Expert witnesses or non-

                 testifying Expert consultants (including their staffs), or attorneys for the Party or

                 Parties (including their staffs), regardless of the form of the communications,

                 except to the extent the communications relate to compensation for the Expert's

                 work or testimony in this case.

          C.     The foregoing exclusions from discovery set forth in subparagraph (B) do not

                 apply to any communications, documents, data sets, or analyses upon which an

                 Expert specifically relies as a basis for his or her ultimate opinion.

          D.     Without varying the above paragraphs, examination will be permitted on

                 alternative analyses, methodologies, or approaches to issues on which the Expert

                 is testifying, regardless of whether the expert considered them in forming the

                 Expert's opinions, and on any matter not excluded from disclosure by the terms of

                 this Discovery Confidentiality Order.

    XV.   FURTHER APPLICATION. Nothing in this Discovery Confidentiality Order precludes

          any Party, or any Non-Party from whom discovery has been requested, from applying to

          the Court for additional or different protective provisions with respect to specific material

          if the need arises during these Actions. The Court shall retain jurisdiction over the

          Parties, and over any person executing an undertaking to be bound by the terms of this

          Discovery Confidentiality Order, during the pendency of these Actions and for such time

          thereafter as is needed to carry out the terms of this Discovery Confidentiality Order.

    XVI. MODIFICATION BY THE COURT OR THE PARTIES. The Court retains the right

          to modify this Discovery Confidentiality Order. Furthermore, nothing herein shall


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           prejudice the right of the Parties to stipulate (subject to Court approval) or to move to

           amend or modify this Discovery Confidentiality Order for good cause.

    XVII. RIGHT TO ASSERT OTHER OBJECTIONS. No Party waives through entry of this

           Order any right it otherwise would have to object to disclosing or producing any

           information or item on any ground not addressed in this Order. Similarly, no Party

           waives any right to object on any ground to use in evidence of any of the material

           covered by this Order.

    XVHLUSE BY PARTY OF ITS OWN MATERIALS. Nothing in this Discovery

           Confidentiality Order prevents a Party from using its own Protected Materials in any way

           that it sees fit, without prior consent of any person or the Court, provided that public

           disclosure by a Party of its own Protected Material will constitute the Party's waiver of

           the designation of that document for its use by any Party in these Actions.

    XIX.   RIGHT OF A PARTY TO USE INDEPENDENTLY OBTAINED DOCUMENTS.

           Nothing in this Order shall impose any restrictions on the use or disclosure by a Party of

           documents, material, or information obtained by such Party independent of formal

           discovery proceedings in this Litigation.

    XX.    VIOLATIONS. The Court has jurisdiction to enforce this Discovery Confidentiality

           Order and to grant relief, as authorized by law or in equity, for any violations thereof.

    XXI.   NO EFFECT ON ARBITRATION OF CLAIMS. The terms of this Discovery

           Confidentiality Order do not waive any and all rights of the Parties to proceed by way of

           individual arbitration instead.


    SO ORDERED.




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                                                         Douglas
    Dated:                , 2018                         United States Magistrate Judge
                                                        The Honorable Douglas E. Miller
                                                        United States Magistrate Judge


    WE ASK FOR THIS:


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     Merck Sharp & Dohme Corp., Schering-
     Plough Corp., Schering Corp., MSP
     Singapore Co. LLC




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                                                EXHIBIT A


                 DECLARATION UNDER DISCOVERY CONFIDENTIALITY ORDER
                    GOVERNING CONFIDENTIAL OR HIGHLY CONFIDENTIAL-
                               ATTORNEYS' EYES ONLY MATERIAL


            I,                                                                             am employed

    by                                                          . I acknowledge and certify that:

            1.      I have read the Discovery Confidentiality Order in In re Zetia (Ezetimibe)

    Antitrust Litigation, 2:18-md-2836, Eastern District of Virginia, and agree to be bound by its

    terms; and

            2.      I agree to be subject to the jurisdiction of this Court for the sole purpose of having

    the terms of the Discovery Confidentiality Order enforced.

    Date:                                          Signature:

                                                   Address:
